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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                  :

       v.                                      : Crim. No. 21-CR-291-1 (ABJ)

THOMAS F. SIBICK                               :

                                           NOTICE


       Defendant, Thomas F. Sibick, through undersigned counsel, hereby submits the attached

character letters in support of his Motion to Reopen Detention Hearing.

                                            Respectfully submitted,

                                                    /s/

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                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 30th day of
September, 2021 to all counsel of record.

                                                    /s/

                                            Stephen F. Brennwald
